Case 3:18-cv-03044-TLB         Document 15         Filed 06/05/18       Page 1 of 7 PageID #: 110




                               In the United States District Court
                                  Western District of Arkansas
                                       Harrison Division

Kandis K. Smith, on behalf of herself
and others similarly situated                                                               Plaintiff

V.                                Case No. 3:18-CV-3044-TLB

Midland Funding LLC
Midland Credit Management, Inc.                                                          Defendants


                                      Joint Rule 26(f) Report

       1. Plaintiff’s Statement of the Case.

       In 2008, Kandis K. Smith defaulted on a World Financial Network National Bank (World

Bank) credit card account branded for Catherines. World Bank charged-off the account on or about

December 26, 2008. The five-year statute of limitations to file a lawsuit against Smith for breach

of contract on the credit card account ran sometime in 2013. Midland Funding LLC eventually

purchased the defaulted credit card account. Midland Credit Management, Inc., began trying to

collect on the account for Midland Funding and from Smith. On March 1, 2017, about four years

after the statute of limitations had ran to file a lawsuit against Smith for breach of contract on the

account, Midland Credit Management sent Smith a collection letter. Smith received the letter at

her home in Berryville, Arkansas. Smith alleges that the collection letter violates the Arkansas Fair

Debt Collection Act, Ark. Code Ann. § 17-24-501, et seq., because it attempted to deceive Smith

into making payments to the debt, which would revive the debt from the statute of limitations

under Arkansas law. The collection letter fails to explain the consequences of making a payment

towards the debt (i.e. the revival of the debt from the statute of limitations under Arkansas law).

Smith seeks to represent a class of Arkansas citizens similarly situated to herself – Arkansas

citizens who received the same collection letter – and seeks to recover her statutory damages,
Case 3:18-cv-03044-TLB          Document 15           Filed 06/05/18   Page 2 of 7 PageID #: 111




actual damages for class members, and attorneys fees and costs.

        2. Defendants’ Statement of the Case.

        The language included in the collection letter is a verbatim recitation of the language

Midland was legally obligated to provide, pursuant to a Consent Decree with the Consumer

Financial Protection Bureau, in order to avoid any confusion about the legal enforceability of time-

barred debts. The omission of an additional disclosure regarding the potential consequences of

partial payment does not render the letter “deceptive” or “misleading,” and, in any event, would

not be material to the least sophisticated consumer. Indeed, it is well-settled that “the FDCPA does

not prohibit a collection agency from requesting payment on a time-barred debt, even if the

collection agency does not disclose that the debt is time-barred and that any partial payment or

acknowledgment would result in the debt’s revival, as long as in doing so, the collection agency

does not threaten or commence litigation.” Price v. M.R.S. Assocs., Inc., 2014 WL 2930723, at *3

(E.D.N.C. June 27, 2014) (citing Freyermuth v. Credit Bureau Servs., 248 F.3d 767, 771 (8th Cir.

2001)) (emphases added). The letter confirms not only the absence of any threat of litigation, but

also that Midland expressly stated that “we will not sue you” based on “the age of this debt.” (Doc.

3, at 19).

        Even if Freyermuth were not controlling, the language used by Midland is not false,

misleading, or deceptive. Midland’s representation that it will not sue on the debt was truthful

unless Midland later threatened or filed a lawsuit claiming that the debtor’s partial payment revived

the statute of limitations. That did not happen here. Not only has Ms. Smith not actually made any

partial payments to Midland, either in response to the collection letter or otherwise, Midland also

has policies and procedures in place that it will not restart the statute of limitations based on a

partial payment, even if state law allows it to do so.




                                                  2
Case 3:18-cv-03044-TLB         Document 15           Filed 06/05/18   Page 3 of 7 PageID #: 112




       3. Are there any Objections pursuant to Rule 26(a)(1)(C) to providing required Initial

Disclosures?

       RESPONSE: No.

       4. Are there any Objections to the timing of Rule 26(a) Initial Disclosures?

       RESPONSE: No. Initial Disclosures will be provided by the date stated in the initial

scheduling order – June 12, 2018.

       5. Agreed Document Productions.

       RESPONSE: Plaintiff will produce the collection letters attached as exhibits to the

complaint.

       Plaintiff agrees to provide the following documents: the collection letters attached as

exhibits to the complaint.

       Defendants agree to provide the following documents: guidance documents within

Midland’s possession (including those from administrative agencies) regarding statute of

limitations disclosures and treatment of same; relevant portions of Midland’s policy and procedure

manuals, including but not limited to those portions related to Midland’s treatment of payments

for purposes of the statute of limitations, which will be produced pursuant to a protective order.

       6. Discovery.

       6(a). How many months are reasonably necessary to complete discovery—as

measured from the date of the Case Management Hearing?

       RESPONSE: The parties agree that discovery can be completed in 12 months, as

contemplated by the Court’s Schedule F for class actions.

       6(b). Do the parties seek to alter (increase or decrease) the maximum number of

written discovery requests allowed by the Rules? If so, please explain.




                                                 3
Case 3:18-cv-03044-TLB          Document 15           Filed 06/05/18    Page 4 of 7 PageID #: 113




       RESPONSE: No.

       6(c). Do the parties seek to increase the maximum number of depositions allowed per

side? If yes, please explain the necessity and state how many depositions per side are

proposed.

       RESPONSE: Not at this time.

       6(d). Please characterize the scope and extent of electronic discovery contemplated by

the parties as follows: (i) none; (ii) fairly simple and routine; or (iii) complex. If your answer

is “Complex,” then please complete and attach Schedule A.

       RESPONSE: The Parties anticipate the scope and extent of electronic discovery to be

fairly simple and routine. The parties agree to work cooperatively during all aspects of discovery

to ensure that the costs of discovery are proportional to what is at issue in the case. Moreover,

there is no need to preserve, and neither party is entitled to discovery of ESI that is “not reasonably

accessible.”

       6(e). Do you anticipate the use of Expert Witnesses at trial? If so, state proposed dates

by which the parties will be in a position to provide initial and rebuttal expert disclosures

pursuant Rule 26(a)(2).

       RESPONSE: The Parties presently do not anticipate expert witnesses at trial, but will

work cooperatively to propose deadlines should any Party decide an expert witness is necessary.

       6(f). Do the parties presently contemplate the need for a protective order prior to the

exchange of documents or information?

       RESPONSE: Yes.

       7. State the parties’ best estimate as to the number of days reasonably necessary to

fully try the case.




                                                  4
Case 3:18-cv-03044-TLB        Document 15           Filed 06/05/18   Page 5 of 7 PageID #: 114




       RESPONSE: Three days.

       8. State whether 90 days—measured from the Case Management Hearing—is a

sufficient amount of time to Add Parties and/or Amend Pleadings.

       RESPONSE: Yes.

       9. Settlement Prospects.

       RESPONSE: The parties generally discussed settlement prospects during the Rule 26(f)

Conference, but believe settlement negotiations are premature until the Court rules on the pending

motion to remand and, potentially, the pending motion to dismiss.

       10. Special Issues and Schedules.

       _X__ Action removed from state court and Plaintiff’s Complaint does not specifically

allege damages in excess of $75,000.00. See attached Schedule C. [If so, please complete and

attach Schedule C.]

       __X_ Complaint contemplates certification of a Rule 23 Class Action and/or a Collective

Action pursuant to the Fair Labor Standards Act. [If so, please complete and attach Schedule F.]

       11. Have all corporate parties filed the disclosure statement contemplated by Fed. R.

Civ. P. 7.1?

       RESPONSE: Yes.

                                    Respectfully submitted,

                              By: /s/ Corey D. McGaha
                                      Corey D. McGaha
                                      Ark. Bar No. 2003047
                                      William T. Crowder
                                      Ark. Bar No. 2003138
                                      CROWDER MCGAHA, LLP
                                      5507 Ranch Drive, Suite 202
                                      Little Rock, AR 72223
                                      Phone (501) 205-4026
                                      Fax: (501) 367-8208


                                                5
Case 3:18-cv-03044-TLB   Document 15         Filed 06/05/18   Page 6 of 7 PageID #: 115




                              cmcgaha@crowdermcgaha.com
                              wcrowder@crowdermcgaha.com

                              Todd M. Turner
                              Ark. Bar No. 92266
                              Dan O. Turner
                              Ark. Bar No. 97179
                              ARNOLDC, BATSON, TURNER & TURNER
                              501 Crittenden Street
                              P.O. Box 480
                              Arkadelphia, AR 71923
                              Phone: (870) 246-9844
                              Fax: (888) 866-9897
                              todd@arnoldbatsonturner.com
                              dan@arnoldbatsonturner.com

                             Attorneys for Plaintiff and the Class

                              and

                         By: /s/ Michael N. Shannon
                                 Michael N. Shannon
                                 Ark. Bar No. 92168
                                 QUATTLEBAUM, GROOMS & TULL PLLC
                                 111 Center Street
                                 Suite 1900
                                 Little Rock, AR 72201
                                 Phone: (501) 379-1700
                                 Fax: (501) 379-1701
                                  mshannon@qgtlaw.com




                                         6
Case 3:18-cv-03044-TLB         Document 15           Filed 06/05/18    Page 7 of 7 PageID #: 116




                                       Certificate of Service

       I hereby certify that I filed the foregoing via the Court’s CM/ECF system, which will

serve all attorneys of record via email.

                                                                      /s/ Corey D. McGaha




                                                 7
